Case 1:24-cv-05901-CPO-SAK Document 38-1 Filed 06/05/24 Page 1 of 14 PageID: 434




                       Exhibit A
Case 1:24-cv-05901-CPO-SAK Document 38-1 Filed 06/05/24 Page 2 of 14 PageID: 435




                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY
                            (Camden Vicinage)



  AUTOMOTIVE RENTALS, INC., and
  ARI FLEET LT,
                                              Civ. A. No. 24-5901(CPO)(SAK)
             Plaintiffs,

                    v.
                                                           ORDER
  REDBOX AUTOMATED RETAIL,
  LLC, and CHICKEN SOUP FOR THE
  SOUL ENTERTAINMENT, INC.,

             Defendants.


       THIS MATTER, having been opened to the Court by Plaintiffs Automotive

 Rentals Inc. d/b/a ARI and ARI Fleet LT (collectively, “ARI” or “Plaintiffs”) by

 and through their counsel, upon motion for a Preliminary Injunction and issuance of

 a Writ of Replevin pursuant to Fed. R. Civ. P. 64, Fed. R. Civ. P. 65 and L. Civ. R.

 65.1(a) (ECF No. 2); the Court, having reviewed the papers submitted by the parties

 (ECF Nos. 13 & 21); the Court, having held oral argument on the application on

 May 29, 2024; for the reasons set forth on the record, and for good cause otherwise

 shown;

        IT IS on this ___ day of _________________ 2024,

       ORDERED that Plaintiffs’ motion for a preliminary injunction is DENIED;




                                          1
Case 1:24-cv-05901-CPO-SAK Document 38-1 Filed 06/05/24 Page 3 of 14 PageID: 436




       ORDERED that Plaintiffs’ motion for the issuance of a Writ of Replevin is

 GRANTED;

       IT IS FURTHER ORDERED as follows:

       1.     Pursuant to Fed. R. Civ. P. 64 and N.J. Stat. Ann. § 2B:50-1, et seq., a

 pre-judgment Writ of Replevin shall issue contemporaneously with this Order,

 directing the U.S. Marshal, or such other law enforcement officer as may be capable

 of executing on such Order, or such repossession companies or persons employed

 ARI, to take possession of the vehicles that are (a) owned by ARI, whose leases by

 ARI to Redbox Automated Retail, LLC have been terminated, and (b) the subject of

 this lawsuit, which includes, without limitation, the vehicles identified on attached

 Exhibit 1 (the “Vehicles”), and deliver the Vehicles to ARI.

       2.     To assist in the repossession process, no later than close of business on

 May 31, 2024, Redbox Automated Retail, LLC and Chicken Soup for the Soul

 Entertainment, Inc. (collectively, the “Defendants”) must provide Plaintiffs with a

 written list identifying (a) each of the Vehicles, (b) where each of the Vehicles is

 located, (c) the name of each of the individual(s) in possession of each of the

 Vehicles, (d) the last known address of each such individual, and (e) the contact

 number and e-mail address for each such individual. Should any such information

 regarding the location or possession of any of the Vehicles change, Defendants,




                                           2
Case 1:24-cv-05901-CPO-SAK Document 38-1 Filed 06/05/24 Page 4 of 14 PageID: 437




 within twenty-four (24) hours of learning any changes, must inform Plaintiffs in

 writing of each of such changes and provide the updated information to Plaintiffs.

       3.     Defendants are hereby prohibited from taking any affirmative action

 that would hinder or otherwise impede Plaintiffs’ repossession efforts with respect

 to the Vehicles, including, without limitation, any action to withhold the delivery of

 the keys to Vehicles to the U.S. Marshal, or such other law enforcement officer as

 may be capable of executing on this Order, or such repossession companies or

 persons employed ARI, to take possession of the Vehicles.

       4.     Defendants are hereby ordered to inform every individual who is in

 possession of, uses and/or operates any of the Vehicles to immediately cease all

 personal use of the Vehicles, and to remove all personal property, effects and

 belongings owned by such individuals or the Defendants from the Vehicles.




                                  _____________________________________
                                       Hon. Christine P. O’Hearn, U.S.D.J.




                                           3
Case 1:24-cv-05901-CPO-SAK Document 38-1 Filed 06/05/24 Page 5 of 14 EXHIBIT
                                                                     PageID: 438
                                                                              1


            VIN              Type         Year       Make                  Model
1    JF2SKAEC5PH548388   Sport Utility    2023    Subaru    ForesterPremium (CVT)
2    JF2SKAEC5PH551176   Sport Utility    2023    Subaru    ForesterPremium (CVT)
3    JF2SKAEC3PH546767   Sport Utility    2023    Subaru    ForesterPremium (CVT)
4    JF2SKAEC2PH514988   Sport Utility    2023    Subaru    ForesterPremium (CVT)
5    JF2SKAEC9PH546479   Sport Utility    2023    Subaru    ForesterPremium (CVT)
6    JF2SKAEC8PH515921   Sport Utility    2023    Subaru    ForesterPremium (CVT)
7    JF2SKAEC6PH533009   Sport Utility    2023    Subaru    ForesterPremium (CVT)
8    JF2SKAEC5PH541991   Sport Utility    2023    Subaru    ForesterPremium (CVT)
9    JF2SKAECXPH542943   Sport Utility    2023    Subaru    ForesterPremium (CVT)
10   JF2SKAEC2PH515588   Sport Utility    2023    Subaru    ForesterPremium (CVT)
11   JF2SKAEC9PH515703   Sport Utility    2023    Subaru    ForesterPremium (CVT)
12   JF2SKAEC5PH542249   Sport Utility    2023    Subaru    ForesterPremium (CVT)
13   JF2SKAECXPH534048   Sport Utility    2023    Subaru    ForesterPremium (CVT)
14   JF2SKAEC5PH473689   Sport Utility    2023    Subaru    ForesterPremium (CVT)
15   JF2SKAEC8PH515904   Sport Utility    2023    Subaru    ForesterPremium (CVT)
16   JF2SKAEC7PH533052   Sport Utility    2023    Subaru    ForesterPremium (CVT)
17   JF2SKAEC6PH549565   Sport Utility    2023    Subaru    ForesterPremium (CVT)
18   JF2SKAEC7PH541474   Sport Utility    2023    Subaru    ForesterPremium (CVT)
19   JF2SKAEC7PH543242   Sport Utility    2023    Subaru    ForesterPremium (CVT)
20   JF2SKAEC7PH546397   Sport Utility    2023    Subaru    ForesterPremium (CVT)
21   JF2SKAEC8PH547428   Sport Utility    2023    Subaru    ForesterPremium (CVT)
22   JF2SKAECXPH551481   Sport Utility    2023    Subaru    ForesterPremium (CVT)
23   JF2SKAEC0PH515783   Sport Utility    2023    Subaru    ForesterPremium (CVT)
24   JF2SKAEC5PH542123   Sport Utility    2023    Subaru    ForesterPremium (CVT)
25   JF2SKAECXPH545941   Sport Utility    2023    Subaru    ForesterPremium (CVT)
26   JF2SKAEC7PH535691   Sport Utility    2023    Subaru    ForesterPremium (CVT)
27   JF2SKAEC7PH536596   Sport Utility    2023    Subaru    ForesterPremium (CVT)
28   JF2SKAEC9PH534736   Sport Utility    2023    Subaru    ForesterPremium (CVT)
29   JF2SKAEC3PH538393   Sport Utility    2023    Subaru    ForesterPremium (CVT)
30   JF2SKAEC0PH536102   Sport Utility    2023    Subaru    ForesterPremium (CVT)
31   JF2SKAEC1PH536576   Sport Utility    2023    Subaru    ForesterPremium (CVT)
32   JF2SKAEC2PH537896   Sport Utility    2023    Subaru    ForesterPremium (CVT)
33   JF2SKAECXPH543767   Sport Utility    2023    Subaru    ForesterPremium (CVT)
34   JF2SKAEC2PH543424   Sport Utility    2023    Subaru    ForesterPremium (CVT)
35   JF2SKAEC3PH533923   Sport Utility    2023    Subaru    ForesterPremium (CVT)
36   JF2SKAEC0PH514651   Sport Utility    2023    Subaru    ForesterPremium (CVT)
37   JF2SKAEC5PH536936   Sport Utility    2023    Subaru    ForesterPremium (CVT)
38   JF2SKAEC1PH537355   Sport Utility    2023    Subaru    ForesterPremium (CVT)
39   JF2SKAEC2PH547523   Sport Utility    2023    Subaru    ForesterPremium (CVT)
40   JF2SKAEC1PH551157   Sport Utility    2023    Subaru    ForesterPremium (CVT)
41   JF2SKAEC1PH540935   Sport Utility    2023    Subaru    ForesterPremium (CVT)
42   JF2SKAEC6PH542034   Sport Utility    2023    Subaru    ForesterPremium (CVT)
43   JF2SKAEC8PH515515   Sport Utility    2023    Subaru    ForesterPremium (CVT)
44   JF2SKAEC6PH544267   Sport Utility    2023    Subaru    ForesterPremium (CVT)
45   JF2SKAEC0PH540845   Sport Utility    2023    Subaru    ForesterPremium (CVT)
46   JF2SKAEC1PH537873   Sport Utility    2023    Subaru    ForesterPremium (CVT)


                                         Page 1 of 10
Case 1:24-cv-05901-CPO-SAK Document 38-1 Filed 06/05/24 Page 6 of 14 PageID: 439


            VIN              Type         Year       Make                  Model
47   JF2SKAEC1PH533631   Sport Utility    2023    Subaru    ForesterPremium (CVT)
48   JF2SKAEC9PH520271   Sport Utility    2023    Subaru    ForesterPremium (CVT)
49   JF2SKAEC5PH541215   Sport Utility    2023    Subaru    ForesterPremium (CVT)
50   JF2SKAEC4PH540525   Sport Utility    2023    Subaru    ForesterPremium (CVT)
51   JF2SKAEC0PH520126   Sport Utility    2023    Subaru    ForesterPremium (CVT)
52   JF2SKAEC5PH543322   Sport Utility    2023    Subaru    ForesterPremium (CVT)
53   JF2SKAEC1PH534648   Sport Utility    2023    Subaru    ForesterPremium (CVT)
54   JF2SKAEC8PH546232   Sport Utility    2023    Subaru    ForesterPremium (CVT)
55   JF2SKAEC9PH514602   Sport Utility    2023    Subaru    ForesterPremium (CVT)
56   JF2SKAEC9PH516043   Sport Utility    2023    Subaru    ForesterPremium (CVT)
57   JF2SKAEC9PH541217   Sport Utility    2023    Subaru    ForesterPremium (CVT)
58   JF2SKAEC8PH542780   Sport Utility    2023    Subaru    ForesterPremium (CVT)
59   JF2SKAEC2PH551068   Sport Utility    2023    Subaru    ForesterPremium (CVT)
60   JF2SKAEC9PH540150   Sport Utility    2023    Subaru    ForesterPremium (CVT)
61   JF2SKAEC6PH543698   Sport Utility    2023    Subaru    ForesterPremium (CVT)
62   JF2SKAEC1PH550784   Sport Utility    2023    Subaru    ForesterPremium (CVT)
63   JF2SKAEC9PH532825   Sport Utility    2023    Subaru    ForesterPremium (CVT)
64   JF2SKAECXPH542778   Sport Utility    2023    Subaru    ForesterPremium (CVT)
65   JF2SKAEC6PH546424   Sport Utility    2023    Subaru    ForesterPremium (CVT)
66   JF2SKAEC8PH540785   Sport Utility    2023    Subaru    ForesterPremium (CVT)
67   JF2SKAEC1PH546301   Sport Utility    2023    Subaru    ForesterPremium (CVT)
68   JF2SKAEC5PH551887   Sport Utility    2023    Subaru    ForesterPremium (CVT)
69   JF2SKAEC8PH537272   Sport Utility    2023    Subaru    ForesterPremium (CVT)
70   JF2SKAEC0PH541686   Sport Utility    2023    Subaru    ForesterPremium (CVT)
71   JF2SKAEC3PH534683   Sport Utility    2023    Subaru    ForesterPremium (CVT)
72   JF2SKAEC4PH537527   Sport Utility    2023    Subaru    ForesterPremium (CVT)
73   JF2SKAEC0PH536438   Sport Utility    2023    Subaru    ForesterPremium (CVT)
74   JF2SKAEC9PH531142   Sport Utility    2023    Subaru    ForesterPremium (CVT)
75   JF2SKAEC0PH535239   Sport Utility    2023    Subaru    ForesterPremium (CVT)
76   JF2SKAEC7PH536274   Sport Utility    2023    Subaru    ForesterPremium (CVT)
77   JF2SKAEC3PH536482   Sport Utility    2023    Subaru    ForesterPremium (CVT)
78   JF2SKAEC0PH535550   Sport Utility    2023    Subaru    ForesterPremium (CVT)
79   JF2SKAEC4PH543795   Sport Utility    2023    Subaru    ForesterPremium (CVT)
80   JF2SKAEC2PH536375   Sport Utility    2023    Subaru    ForesterPremium (CVT)
81   JF2SKAEC2PH536442   Sport Utility    2023    Subaru    ForesterPremium (CVT)
82   JF2SKAECXPH536852   Sport Utility    2023    Subaru    ForesterPremium (CVT)
83   JF2SKAEC4PH520095   Sport Utility    2023    Subaru    ForesterPremium (CVT)
84   JF2SKAEC1PH513962   Sport Utility    2023    Subaru    ForesterPremium (CVT)
85   JF2SKAEC6PH543975   Sport Utility    2023    Subaru    ForesterPremium (CVT)
86   JF2SKAEC6PH543491   Sport Utility    2023    Subaru    ForesterPremium (CVT)
87   JF2SKAEC8PH540995   Sport Utility    2023    Subaru    ForesterPremium (CVT)
88   JF2SKAEC5PH537021   Sport Utility    2023    Subaru    ForesterPremium (CVT)
89   JF2SKAEC2PH540703   Sport Utility    2023    Subaru    ForesterPremium (CVT)
90   JF2SKAEC9PH543677   Sport Utility    2023    Subaru    ForesterPremium (CVT)
91   JF2SKAEC8PH546652   Sport Utility    2023    Subaru    ForesterPremium (CVT)
92   JF2SKAEC7PH547470   Sport Utility    2023    Subaru    ForesterPremium (CVT)


                                         Page 2 of 10
Case 1:24-cv-05901-CPO-SAK Document 38-1 Filed 06/05/24 Page 7 of 14 PageID: 440


             VIN              Type         Year       Make                  Model
93    JF2SKAEC3PH543853   Sport Utility    2023    Subaru    ForesterPremium (CVT)
94    JF2SKAEC7PH550806   Sport Utility    2023    Subaru    ForesterPremium (CVT)
95    JF2SKAEC7PH550921   Sport Utility    2023    Subaru    ForesterPremium (CVT)
96    JF2SKAEC1PH548405   Sport Utility    2023    Subaru    ForesterPremium (CVT)
97    JF2SKAEC0PH514262   Sport Utility    2023    Subaru    ForesterPremium (CVT)
98    JF2SKAEC1PH538182   Sport Utility    2023    Subaru    ForesterPremium (CVT)
99    JF2SKAEC2PH534805   Sport Utility    2023    Subaru    ForesterPremium (CVT)
100   JF2SKAEC4PH544896   Sport Utility    2023    Subaru    ForesterPremium (CVT)
101   JF2SKAEC7PH520074   Sport Utility    2023    Subaru    ForesterPremium (CVT)
102   JF2SKAEC8PH519953   Sport Utility    2023    Subaru    ForesterPremium (CVT)
103   JF2SKAECXPH534616   Sport Utility    2023    Subaru    ForesterPremium (CVT)
104   JF2SKAEC4PH519674   Sport Utility    2023    Subaru    ForesterPremium (CVT)
105   JF2SKAEC8PH533366   Sport Utility    2023    Subaru    ForesterPremium (CVT)
106   JF2SKAEC4PH537169   Sport Utility    2023    Subaru    ForesterPremium (CVT)
107   JF2SKAEC5PH519716   Sport Utility    2023    Subaru    ForesterPremium (CVT)
108   JF2SKAEC2PH519978   Sport Utility    2023    Subaru    ForesterPremium (CVT)
109   JF2SKAEC4PH537575   Sport Utility    2023    Subaru    ForesterPremium (CVT)
110   JF2SKAEC5PH537584   Sport Utility    2023    Subaru    ForesterPremium (CVT)
111   JF2SKAEC6PH537903   Sport Utility    2023    Subaru    ForesterPremium (CVT)
112   JF2SKAEC4PH538001   Sport Utility    2023    Subaru    ForesterPremium (CVT)
113   JF2SKAECXPH528587   Sport Utility    2023    Subaru    ForesterPremium (CVT)
114   JF2SKAEC0PH533653   Sport Utility    2023    Subaru    ForesterPremium (CVT)
115   JF2SKAEC4PH543666   Sport Utility    2023    Subaru    ForesterPremium (CVT)
116   JF2SKAEC6PH457212   Sport Utility    2023    Subaru    ForesterPremium (CVT)
117   JF2SKAEC1PH463466   Sport Utility    2023    Subaru    ForesterPremium (CVT)
118   JF2SKAECXPH456550   Sport Utility    2023    Subaru    ForesterPremium (CVT)
119   JF2SKAEC5PH465088   Sport Utility    2023    Subaru    ForesterPremium (CVT)
120   JF2SKAEC7PH457171   Sport Utility    2023    Subaru    ForesterPremium (CVT)
121   JF2SKAECXPH456922   Sport Utility    2023    Subaru    ForesterPremium (CVT)
122   JF2SKADC4NH522590   Sport Utility    2022    Subaru    ForesterPremium (CVT)
123   JF2SKAEC5PH444337   Sport Utility    2023    Subaru    ForesterPremium (CVT)
124   JF2SKAEC3PH441033   Sport Utility    2023    Subaru    ForesterPremium (CVT)
125   JF2SKAEC0PH464575   Sport Utility    2023    Subaru    ForesterPremium (CVT)
126   JF2SKAEC7PH455128   Sport Utility    2023    Subaru    ForesterPremium (CVT)
127   JF2SKAEC7PH455792   Sport Utility    2023    Subaru    ForesterPremium (CVT)
128   JF2SKAEC6PH456934   Sport Utility    2023    Subaru    ForesterPremium (CVT)
129   JF2SKAEC0PH475365   Sport Utility    2023    Subaru    ForesterPremium (CVT)
130   JF2SKAEC8PH463383   Sport Utility    2023    Subaru    ForesterPremium (CVT)
131   JF2SKAEC9PH456474   Sport Utility    2023    Subaru    ForesterPremium (CVT)
132   JF2SKAEC4PH459489   Sport Utility    2023    Subaru    ForesterPremium (CVT)
133   JF2SKAEC7PH456800   Sport Utility    2023    Subaru    ForesterPremium (CVT)
134   JF2SKAEC0PH461806   Sport Utility    2023    Subaru    ForesterPremium (CVT)
135   JF2SKAEC3PH458012   Sport Utility    2023    Subaru    ForesterPremium (CVT)
136   JF2SKAEC9PH416170   Sport Utility    2023    Subaru    ForesterPremium (CVT)
137   JF2SKAEC4PH464501   Sport Utility    2023    Subaru    ForesterPremium (CVT)
138   JF2SKAEC2PH456817   Sport Utility    2023    Subaru    ForesterPremium (CVT)


                                          Page 3 of 10
Case 1:24-cv-05901-CPO-SAK Document 38-1 Filed 06/05/24 Page 8 of 14 PageID: 441


             VIN              Type         Year       Make                  Model
139   JF2SKAECXPH457262   Sport Utility    2023    Subaru    ForesterPremium (CVT)
140   JF2SKAEC7PH456201   Sport Utility    2023    Subaru    ForesterPremium (CVT)
141   JF2SKAEC7PH456960   Sport Utility    2023    Subaru    ForesterPremium (CVT)
142   JF2SKAEC8PH462797   Sport Utility    2023    Subaru    ForesterPremium (CVT)
143   JF2SKAEC7PH463083   Sport Utility    2023    Subaru    ForesterPremium (CVT)
144   JF2SKAEC4PH457841   Sport Utility    2023    Subaru    ForesterPremium (CVT)
145   JF2SKAEC5PH457914   Sport Utility    2023    Subaru    ForesterPremium (CVT)
146   JF2SKAEC7PH457364   Sport Utility    2023    Subaru    ForesterPremium (CVT)
147   JF2SKAEC1PH462821   Sport Utility    2023    Subaru    ForesterPremium (CVT)
148   JF2SKAEC7PH456988   Sport Utility    2023    Subaru    ForesterPremium (CVT)
149   JF2SKAEC4PH455734   Sport Utility    2023    Subaru    ForesterPremium (CVT)
150   JF2SKAEC4PH455622   Sport Utility    2023    Subaru    ForesterPremium (CVT)
151   JF2SKAEC9PH446415   Sport Utility    2023    Subaru    ForesterPremium (CVT)
152   JF2SKAEC4PH455703   Sport Utility    2023    Subaru    ForesterPremium (CVT)
153   JF2SKAEC9PH455115   Sport Utility    2023    Subaru    ForesterPremium (CVT)
154   JF2SKAEC3PH455997   Sport Utility    2023    Subaru    ForesterPremium (CVT)
155   JF2SKAECXPH454135   Sport Utility    2023    Subaru    ForesterPremium (CVT)
156   JF2SKADCXNH521864   Sport Utility    2022    Subaru    ForesterPremium (CVT)
157   JF2SKAEC3PH455935   Sport Utility    2023    Subaru    ForesterPremium (CVT)
158   JF2SKAEC6PH458053   Sport Utility    2023    Subaru    ForesterPremium (CVT)
159   JF2SKADC3NH524332   Sport Utility    2022    Subaru    ForesterPremium (CVT)
160   JF2SKAEC5PH460277   Sport Utility    2023    Subaru    ForesterPremium (CVT)
161   JF2SKAEC9PH441487   Sport Utility    2023    Subaru    ForesterPremium (CVT)
162   JF2SKAEC1PH452970   Sport Utility    2023    Subaru    ForesterPremium (CVT)
163   JF2SKAEC6PH462989   Sport Utility    2023    Subaru    ForesterPremium (CVT)
164   JF2SKAECXPH458024   Sport Utility    2023    Subaru    ForesterPremium (CVT)
165   JF2SKAECXPH456449   Sport Utility    2023    Subaru    ForesterPremium (CVT)
166   JF2SKAEC2PH457143   Sport Utility    2023    Subaru    ForesterPremium (CVT)
167   JF2SKAEC5PH456519   Sport Utility    2023    Subaru    ForesterPremium (CVT)
168   JF2SKAEC6PH455055   Sport Utility    2023    Subaru    ForesterPremium (CVT)
169   JF2SKAECXPH455088   Sport Utility    2023    Subaru    ForesterPremium (CVT)
170   JF2SKAEC3PH457409   Sport Utility    2023    Subaru    ForesterPremium (CVT)
171   JF2SKAEC8PH455672   Sport Utility    2023    Subaru    ForesterPremium (CVT)
172   JF2SKAEC4PH462862   Sport Utility    2023    Subaru    ForesterPremium (CVT)
173   JF2SKAEC0PH459974   Sport Utility    2023    Subaru    ForesterPremium (CVT)
174   JF2SKAECXPH456760   Sport Utility    2023    Subaru    ForesterPremium (CVT)
175   JF2SKAEC0PH432659   Sport Utility    2023    Subaru    ForesterPremium (CVT)
176   JF2SKAEC9PH420560   Sport Utility    2023    Subaru    ForesterPremium (CVT)
177   JF2SKAEC1PH441371   Sport Utility    2023    Subaru    ForesterPremium (CVT)
178   JF2SKAEC4PH446452   Sport Utility    2023    Subaru    ForesterPremium (CVT)
179   JF2SKAEC8PH441786   Sport Utility    2023    Subaru    ForesterPremium (CVT)
180   JF2SKAEC9PH437844   Sport Utility    2023    Subaru    ForesterPremium (CVT)
181   JF2SKAECXPH435441   Sport Utility    2023    Subaru    ForesterPremium (CVT)
182   JF2SKAEC2PH440049   Sport Utility    2023    Subaru    ForesterPremium (CVT)
183   JF2SKAEC4PH439954   Sport Utility    2023    Subaru    ForesterPremium (CVT)
184   JF2SKAEC8PH438242   Sport Utility    2023    Subaru    ForesterPremium (CVT)


                                          Page 4 of 10
Case 1:24-cv-05901-CPO-SAK Document 38-1 Filed 06/05/24 Page 9 of 14 PageID: 442


             VIN              Type         Year       Make                  Model
185   JF2SKAEC7PH438586   Sport Utility    2023    Subaru    ForesterPremium (CVT)
186   JF2SKAEC4PH438139   Sport Utility    2023    Subaru    ForesterPremium (CVT)
187   JF2SKAEC0PH414095   Sport Utility    2023    Subaru    ForesterPremium (CVT)
188   JF2SKAEC2PH438947   Sport Utility    2023    Subaru    ForesterPremium (CVT)
189   JF2SKAEC8PH441125   Sport Utility    2023    Subaru    ForesterPremium (CVT)
190   JF2SKAEC3PH441730   Sport Utility    2023    Subaru    ForesterPremium (CVT)
191   JF2SKADC6PH412594   Sport Utility    2023    Subaru    ForesterPremium (CVT)
192   JF2SKADC3PH413279   Sport Utility    2023    Subaru    ForesterPremium (CVT)
193   JF2SKADC0PH416219   Sport Utility    2023    Subaru    ForesterPremium (CVT)
194   JF2SKAEC4PH427951   Sport Utility    2023    Subaru    ForesterPremium (CVT)
195   JF2SKAEC0PH421757   Sport Utility    2023    Subaru    ForesterPremium (CVT)
196   JF2SKADC1PH413359   Sport Utility    2023    Subaru    ForesterPremium (CVT)
197   JF2SKAEC3PH416908   Sport Utility    2023    Subaru    ForesterPremium (CVT)
198   JF2SKADC8NH482854   Sport Utility    2022    Subaru    ForesterPremium (CVT)
199   JF2SKAEC1PH421864   Sport Utility    2023    Subaru    ForesterPremium (CVT)
200   JF2SKADC5NH524929   Sport Utility    2022    Subaru    ForesterPremium (CVT)
201   JF2SKADC6NH520663   Sport Utility    2022    Subaru    ForesterPremium (CVT)
202   JF2SKADC5PH416121   Sport Utility    2023    Subaru    ForesterPremium (CVT)
203   JF2SKADC1PH416147   Sport Utility    2023    Subaru    ForesterPremium (CVT)
204   JF2SKADC8PH416744   Sport Utility    2023    Subaru    ForesterPremium (CVT)
205   JF2SKADC1PH412521   Sport Utility    2023    Subaru    ForesterPremium (CVT)
206   JF2SKADC7PH412751   Sport Utility    2023    Subaru    ForesterPremium (CVT)
207   JF2SKADC4PH413131   Sport Utility    2023    Subaru    ForesterPremium (CVT)
208   JF2SKADC9PH414114   Sport Utility    2023    Subaru    ForesterPremium (CVT)
209   JF2SKADC0NH485330   Sport Utility    2022    Subaru    ForesterPremium (CVT)
210   JF2SKADC3PH416778   Sport Utility    2023    Subaru    ForesterPremium (CVT)
211   JF2SKADC5PH413445   Sport Utility    2023    Subaru    ForesterPremium (CVT)
212   JF2SKADC4PH414036   Sport Utility    2023    Subaru    ForesterPremium (CVT)
213   JF2SKADC5PH416667   Sport Utility    2023    Subaru    ForesterPremium (CVT)
214   JF2SKADC5NH521786   Sport Utility    2022    Subaru    ForesterPremium (CVT)
215   JF2SKADC8NH510667   Sport Utility    2022    Subaru    ForesterPremium (CVT)
216   JF2SKADCXNH518155   Sport Utility    2022    Subaru    ForesterPremium (CVT)
217   JF2SKADC1NH518741   Sport Utility    2022    Subaru    ForesterPremium (CVT)
218   JF2SKADC6NH521196   Sport Utility    2022    Subaru    ForesterPremium (CVT)
219   JF2SKADC8NH523077   Sport Utility    2022    Subaru    ForesterPremium (CVT)
220   NM0LS7S27N1532231   Van              2022    Ford      Transit ConnectXL
221   JF2SKADC1NH484185   Sport Utility    2022    Subaru    ForesterPremium (CVT)
222   JF2SKADC7NH487706   Sport Utility    2022    Subaru    ForesterPremium (CVT)
223   JF2SKADC2NH480727   Sport Utility    2022    Subaru    ForesterPremium (CVT)
224   JF2SKADC3NH491302   Sport Utility    2022    Subaru    ForesterPremium (CVT)
225   JF2SKADC7NH493442   Sport Utility    2022    Subaru    ForesterPremium (CVT)
226   JF2SKADC5NH482066   Sport Utility    2022    Subaru    ForesterPremium (CVT)
227   JF2SKADC8NH487830   Sport Utility    2022    Subaru    ForesterPremium (CVT)
228   JF2SKADC5NH483850   Sport Utility    2022    Subaru    ForesterPremium (CVT)
229   JF2SKADC3NH469638   Sport Utility    2022    Subaru    ForesterPremium (CVT)
230   JF2SKADC9NH481969   Sport Utility    2022    Subaru    ForesterPremium (CVT)


                                          Page 5 of 10
Case 1:24-cv-05901-CPO-SAK Document 38-1 Filed 06/05/24 Page 10 of 14 PageID: 443


             VIN              Type         Year       Make                  Model
231   JF2SKADC8NH486144   Sport Utility    2022    Subaru    ForesterPremium (CVT)
232   JF2SKADC1NH482355   Sport Utility    2022    Subaru    ForesterPremium (CVT)
233   JF2SKADC0NH481147   Sport Utility    2022    Subaru    ForesterPremium (CVT)
234   JF2SKADC6NH473747   Sport Utility    2022    Subaru    ForesterPremium (CVT)
235   JF2SKADCXNH479535   Sport Utility    2022    Subaru    ForesterPremium (CVT)
236   JF2SKADC6NH484828   Sport Utility    2022    Subaru    ForesterPremium (CVT)
237   JF2SKADC2NH484549   Sport Utility    2022    Subaru    ForesterPremium (CVT)
238   JF2SKADC4NH483550   Sport Utility    2022    Subaru    ForesterPremium (CVT)
239   JF2SKADC7NH480979   Sport Utility    2022    Subaru    ForesterPremium (CVT)
240   JF2SKADC0NH483920   Sport Utility    2022    Subaru    ForesterPremium (CVT)
241   JF2SKADC2NH480937   Sport Utility    2022    Subaru    ForesterPremium (CVT)
242   JF2SKADC1NH480816   Sport Utility    2022    Subaru    ForesterPremium (CVT)
243   JF2SKADC3NH484317   Sport Utility    2022    Subaru    ForesterPremium (CVT)
244   NM0LS7S27N1520709   Van              2022    Ford      Transit ConnectXL
245   JF2SKAJC5MH585197   Sport Utility    2021    Subaru    ForesterPremium (CVT)
246   JF2SKAJC7MH588084   Sport Utility    2021    Subaru    ForesterPremium (CVT)
247   JF2SKAJC6MH589579   Sport Utility    2021    Subaru    ForesterPremium (CVT)
248   JF2SKAJC0MH575130   Sport Utility    2021    Subaru    ForesterPremium (CVT)
249   JF2SKAJC5MH587998   Sport Utility    2021    Subaru    ForesterPremium (CVT)
250   JF2SKAJC2MH572696   Sport Utility    2021    Subaru    ForesterPremium (CVT)
251   JF2SKAJC2MH573573   Sport Utility    2021    Subaru    ForesterPremium (CVT)
252   JF2SKAJC6MH588478   Sport Utility    2021    Subaru    ForesterPremium (CVT)
253   JF2SKAJC5MH589198   Sport Utility    2021    Subaru    ForesterPremium (CVT)
254   JF2SKAJC0MH588797   Sport Utility    2021    Subaru    ForesterPremium (CVT)
255   JF2SKAJCXMH581727   Sport Utility    2021    Subaru    ForesterPremium (CVT)
256   JF2SKAJC4MH587863   Sport Utility    2021    Subaru    ForesterPremium (CVT)
257   JF2SKAJCXMH556682   Sport Utility    2021    Subaru    ForesterPremium (CVT)
258   JF2SKAJC4MH575602   Sport Utility    2021    Subaru    ForesterPremium (CVT)
259   JF2SKAJCXMH566032   Sport Utility    2021    Subaru    ForesterPremium (CVT)
260   JF2SKAJC7MH556221   Sport Utility    2021    Subaru    ForesterPremium (CVT)
261   JF2SKAJC8MH571102   Sport Utility    2021    Subaru    ForesterPremium (CVT)
262   JF2SKAJC0MH571871   Sport Utility    2021    Subaru    ForesterPremium (CVT)
263   JF2SKAJCXMH572509   Sport Utility    2021    Subaru    ForesterPremium (CVT)
264   JF2SKAJC4MH571064   Sport Utility    2021    Subaru    ForesterPremium (CVT)
265   JF2SKAJC4MH571131   Sport Utility    2021    Subaru    ForesterPremium (CVT)
266   JF2SKAJC7MH578901   Sport Utility    2021    Subaru    ForesterPremium (CVT)
267   JF2SKAJC4MH570089   Sport Utility    2021    Subaru    ForesterPremium (CVT)
268   JF2SKAJC1MH570549   Sport Utility    2021    Subaru    ForesterPremium (CVT)
269   JF2SKAJC5MH570165   Sport Utility    2021    Subaru    ForesterPremium (CVT)
270   JF2SKAJC1MH570082   Sport Utility    2021    Subaru    ForesterPremium (CVT)
271   JF2SKAJC0MH580456   Sport Utility    2021    Subaru    ForesterPremium (CVT)
272   JF2SKAJC7MH574296   Sport Utility    2021    Subaru    ForesterPremium (CVT)
273   JF2SKAJC7MH575089   Sport Utility    2021    Subaru    ForesterPremium (CVT)
274   JF2SKAJC6MH574841   Sport Utility    2021    Subaru    ForesterPremium (CVT)
275   JF2SKAJC5MH572756   Sport Utility    2021    Subaru    ForesterPremium (CVT)
276   JF2SKAJC0MH575208   Sport Utility    2021    Subaru    ForesterPremium (CVT)


                                          Page 6 of 10
Case 1:24-cv-05901-CPO-SAK Document 38-1 Filed 06/05/24 Page 11 of 14 PageID: 444


             VIN              Type         Year       Make                   Model
277   JF2SKAJC0MH573622   Sport Utility    2021    Subaru    ForesterPremium (CVT)
278   JF2SKAJC2MH580507   Sport Utility    2021    Subaru    ForesterPremium (CVT)
279   1FTBR1Y88MKA40349   Van              2021    Ford      Transit-250 CargoBase
280   JF2SKAJC6MH556601   Sport Utility    2021    Subaru    ForesterPremium (CVT)
281   JF2SKAJC0MH561129   Sport Utility    2021    Subaru    ForesterPremium (CVT)
282   JF2SKAJCXMH561736   Sport Utility    2021    Subaru    ForesterPremium (CVT)
283   JF2SKAJC1MH561561   Sport Utility    2021    Subaru    ForesterPremium (CVT)
284   JF2SKAJCXMH556374   Sport Utility    2021    Subaru    ForesterPremium (CVT)
285   JF2SKAJC2MH561181   Sport Utility    2021    Subaru    ForesterPremium (CVT)
286   JF2SKAJC3MH556913   Sport Utility    2021    Subaru    ForesterPremium (CVT)
287   JF2SKAJC3MH556698   Sport Utility    2021    Subaru    ForesterPremium (CVT)
288   JF2SKAJC7MH556462   Sport Utility    2021    Subaru    ForesterPremium (CVT)
289   JF2SKAJC1MH548986   Sport Utility    2021    Subaru    ForesterPremium (CVT)
290   JF2SKAJCXMH531474   Sport Utility    2021    Subaru    ForesterPremium (CVT)
291   JF2SKAJC0MH562541   Sport Utility    2021    Subaru    ForesterPremium (CVT)
292   JF2SKAJC8MH556339   Sport Utility    2021    Subaru    ForesterPremium (CVT)
293   JF2SKAJC2MH534207   Sport Utility    2021    Subaru    ForesterPremium (CVT)
294   JF2SKAJC4MH541322   Sport Utility    2021    Subaru    ForesterPremium (CVT)
295   JF2SKAJC0MH541186   Sport Utility    2021    Subaru    ForesterPremium (CVT)
296   JF2SKAJC7MH579689   Sport Utility    2021    Subaru    ForesterPremium (CVT)
297   JF2SKAJC7LH598502   Sport Utility    2020    Subaru    ForesterPremium (CVT)
298   JF2SKAGC5LH584914   Sport Utility    2020    Subaru    ForesterPremium (CVT)
299   JF2SKAJC2LH594096   Sport Utility    2020    Subaru    ForesterPremium (CVT)
300   JF2SKAGC9LH589727   Sport Utility    2020    Subaru    ForesterPremium (CVT)
301   JF2SKAJC3LH562273   Sport Utility    2020    Subaru    ForesterPremium (CVT)
302   JF2SKAJC1LH540577   Sport Utility    2020    Subaru    ForesterPremium (CVT)
303   1N4AL3AP1FN333494   Car              2015    Nissan    Altima2.5 S (CVT)
304   1N4AL3AP4FC238679   Car              2015    Nissan    Altima2.5 S (CVT)
305   JF2SJADC9GH550018   Sport Utility    2016    Subaru    Forester2.5i Premium (CVT)
306   4S3BNAC65G3047730   Car              2016    Subaru    Legacy2.5i Premium (CVT)
307   4S3BNAC68G3050153   Car              2016    Subaru    Legacy2.5i Premium (CVT)
308   4S3BNAC64G3051526   Car              2016    Subaru    Legacy2.5i Premium (CVT)
309   1N4AL3AP6GN357730   Car              2016    Nissan    Altima2.5 S (CVT)
310   1N4AL3AP5GN357122   Car              2016    Nissan    Altima2.5 S (CVT)
311   4S3BNAC68G3053487   Car              2016    Subaru    Legacy2.5i Premium (CVT)
312   JF2SJAEC7HH580599   Sport Utility    2017    Subaru    Forester2.5i Premium (CVT)
313   JF2SJAECXHH578975   Sport Utility    2017    Subaru    Forester2.5i Premium (CVT)
314   1N4AL3APXHC277019   Car              2017    Nissan    Altima2.5 SR (CVT) (EOP May 2017)
315   1N4AL3AP2HC276852   Car              2017    Nissan    Altima2.5 SR (CVT) (EOP May 2017)
316   1N4AL3AP8HC281005   Car              2017    Nissan    Altima2.5 SR (CVT) (EOP May 2017)
317   JF2SJAGC4JH602755   Sport Utility    2018    Subaru    Forester2.5i Premium (CVT)
318   JF2SJAGC2JH604410   Sport Utility    2018    Subaru    Forester2.5i Premium (CVT)
319   JF2SJAGC8JH604640   Sport Utility    2018    Subaru    Forester2.5i Premium (CVT)
320   JF2SJAGC3JH608854   Sport Utility    2018    Subaru    Forester2.5i Premium (CVT)
321   JF2SJAGC0JH608116   Sport Utility    2018    Subaru    Forester2.5i Premium (CVT)
322   JF2SJAGC3JH609910   Sport Utility    2018    Subaru    Forester2.5i Premium (CVT)


                                          Page 7 of 10
Case 1:24-cv-05901-CPO-SAK Document 38-1 Filed 06/05/24 Page 12 of 14 PageID: 445


             VIN               Type        Year       Make                 Model
323   JTDKBRFU6J3074332   Car              2018    Toyota    PriusTwo (CVT)
324   JTDKBRFUXJ3073524   Car              2018    Toyota    PriusTwo (CVT)
325   JTDKBRFU6J3604525   Car              2018    Toyota    PriusTwo (CVT)
326   JTDKBRFU6J3074153   Car              2018    Toyota    PriusTwo (CVT)
327   JTDKBRFU6J3073830   Car              2018    Toyota    PriusTwo (CVT)
328   JTDKBRFU0J3073452   Car              2018    Toyota    PriusTwo (CVT)
329   JTDKBRFU5J3073348   Car              2018    Toyota    PriusTwo (CVT)
330   JTDKBRFU9J3073353   Car              2018    Toyota    PriusTwo (CVT)
331   JTDKBRFU7J3074176   Car              2018    Toyota    PriusTwo (CVT)
332   JTDKBRFU1J3078367   Car              2018    Toyota    PriusTwo (CVT)
333   JTDKBRFU2J3074327   Car              2018    Toyota    PriusTwo (CVT)
334   JTDKBRFU7J3073559   Car              2018    Toyota    PriusTwo (CVT)
335   JTDKBRFUXJ3073975   Car              2018    Toyota    PriusTwo (CVT)
336   JTDKBRFU5J3073799   Car              2018    Toyota    PriusTwo (CVT)
337   JTDKBRFU8J3074218   Car              2018    Toyota    PriusTwo (CVT)
338   JTDKBRFU6J3073374   Car              2018    Toyota    PriusTwo (CVT)
339   JTDKBRFUXJ3073149   Car              2018    Toyota    PriusTwo (CVT)
340   JTDKBRFUXJ3073636   Car              2018    Toyota    PriusTwo (CVT)
341   JTDKBRFU6J3073732   Car              2018    Toyota    PriusTwo (CVT)
342   JTDKBRFU3J3074529   Car              2018    Toyota    PriusTwo (CVT)
343   JTDKBRFU7J3074050   Car              2018    Toyota    PriusTwo (CVT)
344   JTDKBRFU0J3073886   Car              2018    Toyota    PriusTwo (CVT)
345   JTDKBRFUXJ3078545   Car              2018    Toyota    PriusTwo (CVT)
346   JTDKBRFU7J3074131   Car              2018    Toyota    PriusTwo (CVT)
347   JTDKBRFU6J3074282   Car              2018    Toyota    PriusTwo (CVT)
348   JTDKBRFU2J3074862   Car              2018    Toyota    PriusTwo (CVT)
349   JTDKBRFU6J3597706   Car              2018    Toyota    PriusTwo (CVT)
350   JF2SKAGC0KH574421   Sport Utility    2019    Subaru    ForesterPremium (CVT)
351   JF2SKAGC8KH552862   Sport Utility    2019    Subaru    ForesterPremium (CVT)
352   JF2SKAGC1KH560589   Sport Utility    2019    Subaru    ForesterPremium (CVT)
353   JF2SKAGC6KH562256   Sport Utility    2019    Subaru    ForesterPremium (CVT)
354   JF2SKAGC0KH561538   Sport Utility    2019    Subaru    ForesterPremium (CVT)
355   JF2SKAGC9KH562008   Sport Utility    2019    Subaru    ForesterPremium (CVT)
356   JF2SKAGC3KH560772   Sport Utility    2019    Subaru    ForesterPremium (CVT)
357   JF2SKAGC9KH562073   Sport Utility    2019    Subaru    ForesterPremium (CVT)
358   JF2SKAGC6KH560782   Sport Utility    2019    Subaru    ForesterPremium (CVT)
359   JF2SKAGC6KH566923   Sport Utility    2019    Subaru    ForesterPremium (CVT)
360   JF2SKAGC3KH566815   Sport Utility    2019    Subaru    ForesterPremium (CVT)
361   JF2SKAGC0KH576394   Sport Utility    2019    Subaru    ForesterPremium (CVT)
362   JF2SKAGC1KH566117   Sport Utility    2019    Subaru    ForesterPremium (CVT)
363   JF2SKAGC0KH575794   Sport Utility    2019    Subaru    ForesterPremium (CVT)
364   JF2SKAGC6KH561219   Sport Utility    2019    Subaru    ForesterPremium (CVT)
365   JF2SKAGC9KH562381   Sport Utility    2019    Subaru    ForesterPremium (CVT)
366   JF2SKAGC4KH555080   Sport Utility    2019    Subaru    ForesterPremium (CVT)
367   JF2SKAGCXKH555911   Sport Utility    2019    Subaru    ForesterPremium (CVT)
368   JF2SKAGC2KH555112   Sport Utility    2019    Subaru    ForesterPremium (CVT)


                                          Page 8 of 10
Case 1:24-cv-05901-CPO-SAK Document 38-1 Filed 06/05/24 Page 13 of 14 PageID: 446


              VIN              Type         Year       Make                  Model
369    JF2SKAGC5KH562314   Sport Utility    2019    Subaru    ForesterPremium (CVT)
370    JF2SKAGC4KH560067   Sport Utility    2019    Subaru    ForesterPremium (CVT)
371    JF2SKAGCXKH565290   Sport Utility    2019    Subaru    ForesterPremium (CVT)
372    JF2SKAGC4KH569450   Sport Utility    2019    Subaru    ForesterPremium (CVT)
373    JF2SKAGC9KH563871   Sport Utility    2019    Subaru    ForesterPremium (CVT)
374   JTMMWRFV5KD024457    Sport Utility    2019    Toyota    RAV4 HybridLE (CVT)
375   2T3MWRFVXKW039247    Sport Utility    2019    Toyota    RAV4 HybridLE (CVT)
376   2T3MWRFV2KW041056    Sport Utility    2019    Toyota    RAV4 HybridLE (CVT)
377   2T3MWRFV9KW041068    Sport Utility    2019    Toyota    RAV4 HybridLE (CVT)
378   2T3MWRFV3KW042166    Sport Utility    2019    Toyota    RAV4 HybridLE (CVT)
379   2T3MWRFVXKW039667    Sport Utility    2019    Toyota    RAV4 HybridLE (CVT)
380   2T3MWRFV5KW041357    Sport Utility    2019    Toyota    RAV4 HybridLE (CVT)
381   2T3MWRFV1KW039721    Sport Utility    2019    Toyota    RAV4 HybridLE (CVT)
382   2T3MWRFV9KW039689    Sport Utility    2019    Toyota    RAV4 HybridLE (CVT)
383   2T3MWRFV6KW040749    Sport Utility    2019    Toyota    RAV4 HybridLE (CVT)
384   2T3MWRFV6KW040072    Sport Utility    2019    Toyota    RAV4 HybridLE (CVT)
385   2T3MWRFV1KW039654    Sport Utility    2019    Toyota    RAV4 HybridLE (CVT)
386   2T3MWRFV4KW041737    Sport Utility    2019    Toyota    RAV4 HybridLE (CVT)
387   2T3MWRFV6KW040783    Sport Utility    2019    Toyota    RAV4 HybridLE (CVT)
388   2T3MWRFV6KW033834    Sport Utility    2019    Toyota    RAV4 HybridLE (CVT)
389   2T3MWRFV3KW040398    Sport Utility    2019    Toyota    RAV4 HybridLE (CVT)
390   2T3MWRFV0KW040116    Sport Utility    2019    Toyota    RAV4 HybridLE (CVT)
391   2T3MWRFV4KW040099    Sport Utility    2019    Toyota    RAV4 HybridLE (CVT)
392   2T3MWRFV6KW040069    Sport Utility    2019    Toyota    RAV4 HybridLE (CVT)
393   2T3MWRFV4KW039602    Sport Utility    2019    Toyota    RAV4 HybridLE (CVT)
394   2T3MWRFV3KW041700    Sport Utility    2019    Toyota    RAV4 HybridLE (CVT)
395   2T3MWRFV2KW040375    Sport Utility    2019    Toyota    RAV4 HybridLE (CVT)
396   2T3MWRFV2KW041705    Sport Utility    2019    Toyota    RAV4 HybridLE (CVT)
397   2T3MWRFV0KW041380    Sport Utility    2019    Toyota    RAV4 HybridLE (CVT)
398   2T3MWRFVXKW039345    Sport Utility    2019    Toyota    RAV4 HybridLE (CVT)
399   2T3MWRFV3KW039011    Sport Utility    2019    Toyota    RAV4 HybridLE (CVT)
400   2T3MWRFV7KW040128    Sport Utility    2019    Toyota    RAV4 HybridLE (CVT)
401   2T3MWRFV8KW038999    Sport Utility    2019    Toyota    RAV4 HybridLE (CVT)
402   2T3MWRFV4KW041074    Sport Utility    2019    Toyota    RAV4 HybridLE (CVT)
403   2T3MWRFV5KW039236    Sport Utility    2019    Toyota    RAV4 HybridLE (CVT)
404   2T3MWRFV9KW039286    Sport Utility    2019    Toyota    RAV4 HybridLE (CVT)
405   2T3MWRFV4KW040054    Sport Utility    2019    Toyota    RAV4 HybridLE (CVT)
406   2T3MWRFV9KW039708    Sport Utility    2019    Toyota    RAV4 HybridLE (CVT)
407   2T3MWRFV2KW040120    Sport Utility    2019    Toyota    RAV4 HybridLE (CVT)
408   2T3MWRFV8KW041739    Sport Utility    2019    Toyota    RAV4 HybridLE (CVT)
409   2T3MWRFV6KW041271    Sport Utility    2019    Toyota    RAV4 HybridLE (CVT)
410   2T3MWRFV6KW040394    Sport Utility    2019    Toyota    RAV4 HybridLE (CVT)
411   2T3MWRFV3KW041292    Sport Utility    2019    Toyota    RAV4 HybridLE (CVT)
412   2T3MWRFV3KW038909    Sport Utility    2019    Toyota    RAV4 HybridLE (CVT)
413   2T3MWRFV4KW040135    Sport Utility    2019    Toyota    RAV4 HybridLE (CVT)
414   2T3MWRFV5KW039740    Sport Utility    2019    Toyota    RAV4 HybridLE (CVT)


                                           Page 9 of 10
Case 1:24-cv-05901-CPO-SAK Document 38-1 Filed 06/05/24 Page 14 of 14 PageID: 447


              VIN              Type         Year       Make                   Model
415   2T3MWRFV9KW040129    Sport Utility    2019    Toyota    RAV4 HybridLE (CVT)
416   2T3MWRFV3KW039171    Sport Utility    2019    Toyota    RAV4 HybridLE (CVT)
417   2T3LWRFV4KW015330    Sport Utility    2019    Toyota    RAV4 HybridLE (CVT)
418    4S3BNAC69G3049612   Car              2016    Subaru    Legacy2.5i Premium (CVT)
419    JF2SKAGC3KH554213   Sport Utility    2019    Subaru    ForesterPremium (CVT)
420   2T3MWRFV5KW040807    Sport Utility    2019    Toyota    RAV4 HybridLE (CVT)
421   2T3MWRFV5KW041424    Sport Utility    2019    Toyota    RAV4 HybridLE (CVT)
422   2T3MWRFV3KW039736    Sport Utility    2019    Toyota    RAV4 HybridLE (CVT)
423   2T3MWRFV6KW041089    Sport Utility    2019    Toyota    Rav4 HybridLE (CVT)
424    JF2SJAEC9HH583598   Sport Utility    2017    Subaru    Forester2.5i Premium (CVT)
425    JTDKBRFU8J3065177   Car              2018    Toyota    PriusTwo (CVT)
426    JF2SKAGC0KH562415   Sport Utility    2019    Subaru    ForesterPremium (CVT)
427    JF2SKAGC0KH566917   Sport Utility    2019    Subaru    ForesterPremium (CVT)
428   2T3MWRFV6KW039259    Sport Utility    2019    Toyota    RAV4 HybridLE (CVT)
429   2T3MWRFV2KW040019    Sport Utility    2019    Toyota    RAV4 HybridLE (CVT)
430   2T3MWRFV5KW041309    Sport Utility    2019    Toyota    RAV4 HybridLE (CVT)
431   2T3MWRFV3KW039008    Sport Utility    2019    Toyota    RAV4 HybridLE (CVT)
432    JF2SKAGC3KH548721   Sport Utility    2019    Subaru    ForesterPremium (CVT)
433   2T3MWRFV3KW041678    Sport Utility    2019    Toyota    RAV4 HybridLE (CVT)
434    JF2SKAGC9KH565748   Sport Utility    2019    Subaru    ForesterPremium (CVT)
435    JF2SJAGC2JH606528   Sport Utility    2018    Subaru    Forester2.5i Premium (CVT)
436    JF2SKAGC7KH552139   Sport Utility    2019    Subaru    ForesterPremium (CVT)
437   2T3MWRFV6KW040413    Sport Utility    2019    Toyota    RAV4 HybridLE (CVT)




                                           Page 10 of 10
